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                                                    SIDLEY AUSTIN LLP
                                                    787 SEVENTH AVENUE
                                                    NEW YORK, NY 10019
                                                    +1 212 839 5300
                                                    +1 212 839 5599 FAX


                                                                                                                               JHUTCHINSON@SIDLEY.COM
                                                    AMERICA • ASIA PACIFIC • EUROPE                                            +1 212 839 5398




                                                                        February 26, 2019


By ECF

 The Honorable Edgardo Ramos
 U.S. District Court, Southern District of New York
 40 Foley Square
 New York, New York 10007


       Re:            In the Matter of Non-Party Subpoena Served in:
                      ABN AMRO Capital USA LLC, et al. v. Johnson, et al., No. 18-mc-00554 (ER)

Dear Judge Ramos:

        We represent non-party AMERRA Capital Management, LLC (“AMERRA”) in the
above-referenced matter in which AMERRA has moved, pursuant to Rule 45 of the Federal
Rules of Civil Procedure, to quash the subpoena for documents (the “Subpoena”) issued by the
plaintiffs in the proceeding ABN AMRO Capital USA LLC, et al. v. Johnson, et al., No. 2:18-cv-
00246 (D.N.J.) (the “New Jersey Action”). We write in response to the letter filed by Plaintiffs
on February 25, 2019 (ECF No. 20) announcing that Plaintiffs, led by ABN AMRO Capital USA
LLC (“ABN”), have filed a lawsuit against AMERRA in New York Supreme Court (the “New
York Complaint”).

         If any doubt remained, the filing of the New York Complaint now firmly establishes that
ABN’s non-party Subpoena has nothing to do with the New Jersey Action, and instead is a
transparent attempt to get one-way discovery to support the claims that ABN always intended to
pursue against its true litigation target: AMERRA. ABN’s Subpoena is plainly aimed at
obtaining new discovery from a non-party litigation target for use in other proceedings, an
impermissible tactic that this Court repeatedly has rejected. See Nicholas v. Poughkeepsie Sav.
Bank/FSB, No. 90 Civ. 1607, 1991 WL 113279, at *2 (S.D.N.Y. June 14, 1991) ("[W]hen the
purpose of a discovery request is to gather information for use in proceedings other than the
pending suit, discovery is properly denied.”); Night Hawk Ltd. v. Briarpatch Ltd., L.P., No. 03
CIV.1382 RWS, 2003 WL 23018833, at *8 (S.D.N.Y. Dec. 23, 2003) (granting a motion to
quash a subpoena because “[d]efendants cannot use this subpoena to obtain information for use
in state court proceedings”).

       Indeed, while ABN previously conceded to this Court only that the documents it sought
“could end up being responsive to a future action that has not been filed” against AMERRA
(ECF No. 10, Opp. Br. at 3 (emphasis added)), it is now obvious that the Subpoena was in fact

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carefully crafted to obtain discovery from AMERRA to support the claims it planned to bring
against AMERRA, not to further the largely moot New Jersey Action against four lower-level
employees from whom ABN has no hope of recovering its alleged damages. For example, rather
than targeting the four Civil-Only Defendants in the New Jersey Action – Nancy Pizzi, William
Yu, Timothy Johnson, and Mary Johnson – ABN’s Subpoena seeks documents and
communications concerning AMERRA’s “awareness” of, “reaction to,” and “knowledge of”
various improprieties in Transmar’s financials and reporting. (Subpoena, ECF No. 5-1, at
Request Nos. 11, 15, 63.) Similarly, the Subpoena seeks documents and communications
concerning AMERRA’s “internal approval, review, or analysis of” the exact year-end 2014 and
year-end 2015 transactions that are the heart of ABN’s claims against AMERRA in the now-filed
New York Complaint, but in fact receive no more than a passing mention in the New Jersey
Complaint. (See Subpoena, ECF No. 5-1, at Request No. 25; see, e.g., New York Complaint,
ECF No. 20-1, at ¶¶ 64-65, 71-73.)

         Moreover, this Court has refused to enforce non-party subpoenas served by a plaintiff
who, like ABN, made the deliberate choice to litigate against that “non-party” in a separate
proceeding. See In re Biovail Corp. Secs. Litig., 247 F.R.D. 72, 75 (S.D.N.Y. 2007) (rejecting
subpoenas against non-parties where Biovail “could have made the non-parties from whom it
now seeks discovery parties to this action,” “but instead chose to pursue separate action in New
Jersey”). Here, ABN’s choice to sue AMERRA separately was deliberate. ABN’s New York
Complaint is filed on behalf of the same eight Plaintiffs as the New Jersey Action, by the same
law firm as the New Jersey Action, and for allegedly aiding and abetting the same fraud alleged
in the New Jersey Action. ABN knew all along it would sue AMERRA, but instead of naming
AMERRA as part of its suit against the New Jersey defendants, ABN waited, hoping that it could
first extract onerous one-way discovery from AMERRA through improper non-party subpoenas.1

         Having decided to waste the last two years harassing AMERRA with abusive discovery
tactics, ABN cannot be permitted to now complain that it is “subject to an entirely different pre-
trial schedule than the New York Action” and that “the deadline for completing fact discovery in
the New Jersey Action is July 23, 2019.” This is exactly the argument that this Court rejected in
Biovail, where it held that “Biovail cannot have it both ways. It chose to proceed by separate
litigation. It cannot now have combined discovery. Where the purpose of a discovery request is



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  This is well illustrated by the fact that at a hearing more than two years ago, on February 1, 2017, ABN stood up in
U.S. Bankruptcy Court and proclaimed that “it’s beyond question” that AMERRA “sat at the center of the web of
transactions which we believe were part and parcel of what brought down [Transmar].” (ECF No. 5-12, Hutchinson
Decl. Ex. L at 37:23-38:1.) By June 9, 2017, Judge Garrity recognized that: “it’s clear to the Court that ABN
AMRO has identified Amerra as a litigation target and is seeking to utilize the liberal discovery available under Rule
2004 to further this ultimate litigation. That’s not permitted.” (ECF No. 5-17, Hutchinson Decl. Ex. Q at 22:7-11.)
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to gather information for use in proceedings other than the pending suit, discovery is properly
denied.” In re Biovail, 247 F.R.D. at 75.2

       Accordingly, for these additional reasons and those previously briefed, we respectfully
submit that this Court should grant AMERRA’s Motion to Quash.



                                                          Respectfully submitted,

                                                          /s/ John G. Hutchinson

                                                          John G. Hutchinson


cc:     All counsel of record (by ECF)




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  Tellingly, despite serving the Subpoena on AMERRA nearly four months ago, on November 6, 2018, ABN has
steadfastly refused to request any discovery from the Civil-Only Defendants, and in fact has repeatedly sought to
delay the deadline by which the Civil-Only Defendants must make Rule 26 disclosures that would reveal to ABN
the identity of witnesses with discoverable information and the relevant documents in defendants’ possession.
